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January 11, 2021

VIA ECF

Hon. Judge Analisa Torres
United States District Court
Southern District of New York
500 Pearl Street

New York, NY 10007

Re: Cruz v. Taurus Holdings, Inc.; Civil Action No. 1:20-cv-09677-AT

Dear Judge Torres,

The undersigned represents Plaintiff Shael Cruz (hereinafter “Plaintiff’) in the above-
referenced matter.

The initial conference for this matter is set for January 19, 2021 at 11:20 a.m. It is now
January 11,2021, and Defendant has yet to appear in this case. In fact, Plaintiff has still not received

an Affidavit of Service from its process server.

In light of the above, the undersigned requests that the upcoming Conference be adjourned
as well as an additional 30 days in which to file an Affidavit of Service with the Court.

Thank you for your time and consideration of the above request.

GRANTED. The initial pretrial conference scheduled Respectfully submitted,
for January 19, 2021, is ADJOURNED to February

18, 2021, at 10:40 a.m. By February 11, 2021, the /s/ Joseph H. Mizrahi
parties shall file their joint letter and proposed case Joseph H. Mizrahi, Esq.

management plan.
SO ORDERED.

Dated: January 12, 2021
New York, New York

On-

ANALISA TORRES
United States District Judge

 
